22-10920-mg           Doc 63       Filed 11/08/22 Entered 11/08/22 14:40:25                    Main Document
                                                Pg 1 of 5


                                                             Hearing Date: November 28, 2022 at 2:00 p.m. (ET)
                                                        Objection Deadline: November 15, 2022 at 4:00 p.m. (ET)
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                    Chapter 15

    Three Arrows Capital, Ltd, 1                              Case No. 22-10920 (MG)

             Debtor in a Foreign Proceeding.


SECOND AMENDED 2 NOTICE OF (I) FILING AND HEARING ON (A) MOTION FOR
    ENTRY OF AN ORDER APPROVING CROSS-BORDER COURT-TO-COURT
   COMMUNICATIONS PROTOCOL, (B) MOTION FOR ENTRY OF AN ORDER
        GRANTING CERTAIN DISCRETIONARY RELIEF PURSUANT TO
 11 U.S.C. §§ 1521(A), (B) AND 1522, (C) FOREIGN REPRESENTATIVES’ MOTION
  FOR ENTRY OF AN ORDER AUTHORIZING ISSUANCE OF SUBPOENAS AND
GRANTING RELATED RELIEF, AND (D) FOREIGN REPRESENTATIVES’ MOTION
    FOR ENTRY OF AN ORDER AUTHORIZING ALTERNATIVE SERVICE OF
     PROCESS AND (II) ADJOURNMENT OF NOVEMBER 16, 2022 HEARING

       PLEASE TAKE NOTICE that on October 10, 2022, Russell Crumpler and Christopher
Farmer, in their joint capacities as the duly authorized foreign representatives (the “Foreign
Representatives”) of Three Arrows Capital, Ltd (the “Debtor”) filed (a) the Motion for Entry of an
Order Approving Cross-Border Court-to-Court Communications Protocol (the “Protocol
Motion”) and (b) the Motion for Entry of an Order Granting Certain Discretionary Relief Pursuant
to 11 U.S.C. §§ 1521(A), (B) and 1522 (the “Discretionary Relief Motion”), with the United States
Bankruptcy Court for the Southern District of New York (the “Court”).

       PLEASE TAKE FURTHER NOTICE that by the Protocol Motion, the Foreign
Representatives request entry of an order approving the proposed cross-border court cooperation
and communication protocol attached thereto as Exhibit 1, pursuant to sections 105(a), 105(d),
1525 and 1527 of the Bankruptcy Code and consistent with the Cross-Border Guidelines and the
Modalities of Communications.

        PLEASE TAKE FURTHER NOTICE that by the Discretionary Relief Motion, the
Foreign Representatives request entry of an order entrusting the distribution of the Debtor’s assets
within the United States to the Foreign Representatives pursuant to sections 1521(a), (b) and 1522
of the Bankruptcy Code, including granting the Foreign Representatives authority to transfer to
the BVI the Debtor’s assets located in the United States, including cryptocurrencies and other

1
    The last four digits of the Debtor’s British Virgin Islands company registration number are 0531. The location of
    the Debtor’s registered office is ABM Chambers, P.O. Box 2283, Road Town, Tortola, VG1110, British Virgin
    Islands.
2
    Amended solely to adjourn the hearing date to November 28, 2022 at 2:00 p.m. (ET), per the instruction of
    the Court.
22-10920-mg            Doc 63       Filed 11/08/22 Entered 11/08/22 14:40:25             Main Document
                                                 Pg 2 of 5



digital assets that may be deemed to be located in the United States, without further notice to this
Court or other parties in interest.

       PLEASE TAKE FURTHER NOTICE that the Protocol Motion and the Discretionary
Relief Motion were scheduled to be heard on November 29, 2022 at 11:00 a.m. (prevailing Eastern
Time). Per the direction of the Court, such hearing is hereby adjourned to November 28, 2022
at 2:00 p.m. (prevailing Eastern Time).

        PLEASE TAKE FURTHER NOTICE that on October 14, 2022, the Foreign
Representatives filed (a) the Foreign Representatives’ Motion for Entry of an Order (A)
Authorizing Issuance of Subpoenas and (B) Granting Related Relief (the “Discovery Motion”) and
(b) the Foreign Representatives’ Motion for Entry of an Order Authorizing Alternative Service of
Process (the “Alternative Service Motion,” and together with the Protocol Motion, the
Discretionary Relief Motion, and the Discovery Motion, the “Motions”). 3

         PLEASE TAKE FURTHER NOTICE that by the Discovery Motion, the Foreign
Representatives request entry of an order (a) authorizing the issuance of, and directing compliance
with, subpoenas for the production of documents and testimony on the Founders, the Investment
Managers, and any other persons or entities that the Foreign Representatives reasonably determine
during the course of their investigation may have information relevant to the Debtor, its assets, its
affairs, its rights, its obligations, or its liabilities, including, but not limited to, the form of subpoena
attached as Exhibit 1 to the Discovery Motion; and (b) granting related relief.

        PLEASE TAKE FURTHER NOTICE that by the Alternative Service Motion, the
Foreign Representatives request entry of an order (a) authorizing service of subpoenas on the
Founders, attached thereto as Exhibit B, via (1) email and (2) the Founders’ Twitter page, and (3)
the Founders’ Advocatus counsels’ email, (b) authorizing the service of FRCP Rule 45 subpoenas
to other third parties via alternative means including (1) mail, (2) email, (3) delivery to the
subpoena recipient’s place of business or corporate office, or (4) delivery of a copy of the subpoena
to the subpoena recipient’s counsel by mail and/or email, (c) authorizing the issuance of subpoenas
that command the electronic production of documents, and (d) granting related relief.

       PLEASE TAKE FURTHER NOTICE that the Court had scheduled a hearing
(the “Hearing”) to consider the relief requested in the Motions for 11:00 a.m. (prevailing Eastern
Time) on November 29, 2022. Per the direction of the Court, the hearing on the Motions is
hereby adjourned to November 28, 2022 at 2:00 p.m. (prevailing Eastern Time) before the
Honorable Martin Glenn of the United States Bankruptcy Court for the Southern District of New
York, One Bowling Green, New York, New York 10004.

        PLEASE TAKE FURTHER NOTICE, in accordance with General Order M-543, dated
March 20, 2020 (Morris, C.J.), a copy of which may be viewed on the Court’s website at
http://www.nysb.uscourts.gov/sites/default/files/m543.pdf, the Hearing will be conducted by
telephonic means through Zoom for Government® videoconference. Parties wishing to participate




3
    Capitalized terms shall have the same meanings ascribed to them in the Motions.


                                                          2
22-10920-mg       Doc 63    Filed 11/08/22 Entered 11/08/22 14:40:25            Main Document
                                         Pg 3 of 5



in the Hearing are required to register their eCourtAppearance by 4:00 p.m. (prevailing Eastern
Time) the day before the Hearing at https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl.

        PLEASE TAKE FURTHER NOTICE that copies of the Motions and all documents filed
in the chapter 15 case are available to parties in interest on the Court’s Electronic Case Filing
System, which can be accessed from (a) the Court’s website at http://www.nysb.uscourts.gov (a
PACER login and password are required to retrieve a document), or (b) upon written request to
the Foreign Representatives’ counsel (including by facsimile or e-mail) addressed to:

               Adam J. Goldberg
               Brett M. Neve
               Nacif Taousse
               Brian S. Rosen
               LATHAM & WATKINS LLP
               1271 Avenue of the Americas
               New York, NY 10020
               Telephone: (212) 906-1200
               Facsimile: (212) 751-4864
               Email: adam.goldberg@lw.com
                      brett.neve@lw.com
                      nacif.taousse@lw.com
                      brian.rosen@lw.com

               Daniel Scott Schecter (admitted pro hac vice)
               Nima H. Mohebbi (admitted pro hac vice)
               Caitlin J. Campbell (admitted pro hac vice)
               LATHAM & WATKINS LLP
               355 South Grand Avenue, Suite 100
               Los Angeles, CA 90071
               Telephone: (213) 485-1234
               Facsimile: (213) 891-8763
               Email: daniel.schecter@lw.com
                       nima.mohebbi@lw.com
                       caitlin.campbell@lw.com

       A copy of select pleadings filed in the chapter 15 case are available for review, free-of-
charge, on the website maintained by the Foreign Representatives: https://3acliquidation.com/.

       PLEASE TAKE FURTHER NOTICE that any party in interest wishing to submit a
response or objection to the relief requested by the Motions shall file such response of objection
with the Court no later than 4:00 p.m. (prevailing Eastern Time) on November 15, 2022.

        PLEASE TAKE FURTHER NOTICE that any responses of objections to the relief
requested by the Motions shall be in writing, in accordance with the Bankruptcy Code, the
Bankruptcy Rules, and the Local Bankruptcy Rules for the United States Bankruptcy Court for the
Southern District of New York, and shall set forth the basis for such response or objection with
specificity and the nature and extent of the respondent’s claims against the Debtor. Any such


                                                3
22-10920-mg       Doc 63     Filed 11/08/22 Entered 11/08/22 14:40:25           Main Document
                                          Pg 4 of 5



written responses or objections shall be filed electronically with the Court by registered users of
the Court’s electronic case filing system in accordance with General Order M-399 and the Court’s
Procedures for the Filing, Signing and Verification of Documents by Electronic Means (copies of
each of which may be viewed on the Court’s website at http://www.nysb.uscourts.gov) and by all
other parties in interest, on a compact disc in Portable Document Format (PDF), Microsoft Word,
or any other Windows-based word processing format, which disc shall be sent to the Office of the
Clerk of the Court, One Bowling Green, New York, New York 10004-1408. A hard copy of any
written response or objection shall be sent to the Chambers of the Honorable Martin Glenn, Chief
United States Bankruptcy Judge, One Bowling Green, New York, New York 10004-1408 and
served upon counsel for the Foreign Representatives, Latham & Watkins LLP, 1271 Avenue of
the Americas, New York, New York 10020 (Attn.: Adam J. Goldberg, Brett M. Neve, Nacif
Taousse, and Brian S. Rosen), and Latham & Watkins LLP, 355 South Grand Avenue, Suite 100,
Los Angeles, CA 90071 (Attn.: Daniel Scott Schecter, Nima H. Mohebbi, and Caitlin J. Campbell).

       PLEASE TAKE FURTHER NOTICE that all parties in interest opposed to the relief
requested by the Motions must appear at the Hearing at the time and place set forth above.

        PLEASE TAKE FURTHER NOTICE that the Hearing may be adjourned from time to
time without further notice other than an announcement in open court, or a notice of adjournment
filed with the Court, of the adjourned date or dates at the hearing or any other further adjourned
hearing.

                           [Remainder of Page Intentionally Left Blank]




                                                4
22-10920-mg    Doc 63   Filed 11/08/22 Entered 11/08/22 14:40:25       Main Document
                                     Pg 5 of 5



Dated: November 8, 2022                Respectfully submitted,
       New York, New York
                                       /s/ Adam J. Goldberg
                                       Adam J. Goldberg
                                       Brett M. Neve
                                       Nacif Taousse
                                       Brian S. Rosen
                                       LATHAM & WATKINS LLP
                                       1271 Avenue of the Americas
                                       New York, NY 10020
                                       Telephone: (212) 906-1200
                                       Facsimile: (212) 751-4864
                                       Email: adam.goldberg@lw.com
                                               brett.neve@lw.com
                                               nacif.taousse@lw.com
                                               brian.rosen@lw.com

                                       – and –

                                       Daniel Scott Schecter (admitted pro hac vice)
                                       Nima H. Mohebbi (admitted pro hac vice)
                                       Caitlin J. Campbell (admitted pro hac vice)
                                       LATHAM & WATKINS LLP
                                       355 South Grand Avenue, Suite 100
                                       Los Angeles, CA 90071
                                       Telephone: (213) 485-1234
                                       Facsimile: (213) 891-8763
                                       Email: daniel.schecter@lw.com
                                                 nima.mohebbi@lw.com
                                                 caitlin.campbell@lw.com

                                       Counsel to the Foreign Representatives
